Case 2:21-cr-00130-RBS-RJK Document 4 Filed 10/12/21 Page 1 of 6 PageID# 6
Case 2:21-cr-00130-RBS-RJK Document 4 Filed 10/12/21 Page 2 of 6 PageID# 7
Case 2:21-cr-00130-RBS-RJK Document 4 Filed 10/12/21 Page 3 of 6 PageID# 8
Case 2:21-cr-00130-RBS-RJK Document 4 Filed 10/12/21 Page 4 of 6 PageID# 9
Case 2:21-cr-00130-RBS-RJK Document 4 Filed 10/12/21 Page 5 of 6 PageID# 10
Case 2:21-cr-00130-RBS-RJK Document 4 Filed 10/12/21 Page 6 of 6 PageID# 11
